            Case 7:16-cr-00463-VB Document 84 Filed 01/12/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
UNITED STATES OF AMERICA                                  :
                                                          :     ORDER
v.                                                        :
                                                          :     16 CR 463 (VB)
ARIEL VARSANYI,                                           :
                                    Defendant.            :
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       On January 11, 2021, the government filed its letter response to the pending motion for
reduction of sentence. (Doc. #83).

         Because the government’s letter refers to events that have taken place since the initial
motion was filed, and refers to medical records that do not appear to have been included with the
initial motion, defense counsel is directed to file a reply by no later than January 19, 2021.

Dated: January 12, 2021
       White Plains, NY                              SO ORDERED:



                                                     ____________________________
                                                     Vincent L. Briccetti
                                                     United States District Judge
